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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND


  ROBYN KRAVITZ, et al.,                             Civil Action No. 8:18-cv-01041-GJH

                         Plaintiffs,
          v.                                         Hon. George J. Hazel

  U.S. DEPARTMENT OF COMMERCE, et.
  al.,
                  Defendants.



  LA UNIÓN DEL PUEBLO ENTERO, et al.,                 Civil Action No. 8:18-cv-01570-GJH

                        Plaintiffs,
         v.                                          Hon. George J. Hazel

  WILBUR L. ROSS, sued in his official
  capacity as U.S. Secretary of Commerce, et
  al.,

                        Defendants.


      NOTICE OF FILING OF PLAINTIFFS’ PROPOSED SCHEDULING ORDER

       Pursuant to the Court’s order of July 3, 2019, Plaintiffs hereby submit and request that

the Court enter the attached Proposed Scheduling Order.

       Earlier today, on July 5, 2019, Plaintiffs met and conferred with Defendants regarding the

attached proposed scheduling order. Defendants stated that they did not oppose Plaintiffs’

proposed scheduling order except that Defendants requested that the schedule be held in

abeyance indefinitely until Defendants reach a “new” decision regarding whether or not they will

attempt to inquire about citizenship status as part of the 2020 decennial census.

       There is no reason to hold the proposed scheduling order in abeyance. Defendants cannot

avoid Plaintiffs’ equal protection and Section 1985 claims merely by pretending that the same or
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a similar decision is somehow “new” or somehow cures the discriminatory intent that Plaintiffs

have established as motivating the addition of the citizenship question to the 2020 census. See,

e.g., Ne. Fla. Chapter of Associated Gen. Contractors v. City of Jacksonville, 508 U.S. 656

(1993); City of Mesquite v. Aladdin’s Castle, Inc., 455 U.S. 283 (1982); N.C. State Conference of

NAACP v. McCrory, 831 F.3d 204, 225 (4th Cir. 2016).

       During the meet-and-confer teleconference, Defendants suggested that Plaintiffs likely

would need to seek additional discovery in the wake of a purportedly “new” decision. Plaintiffs

agree. However, that potentiality is not a basis for indefinitely deferring discovery on Plaintiffs’

valid equal protection and Section 1985 claims, particularly given that Plaintiffs’ proposed

scheduling order expressly provides for modification in light of any developments, “including

but not limited to any specific efforts by the federal government to inquire about citizenship

status as part of the 2020 decennial census.”

       Defendants’ proposal to hold discovery in abeyance is particularly inappropriate given

Defendants’ repeated representations to this Court and other courts, including the United States

Supreme Court, that timing is of the essence and that “the census questionnaire needed to be

finalized for printing by the end of June 2019.” Department of Commerce v. New York, No. 18-

966, slip op. at 8 (June 27, 2019).

       Plaintiffs respectfully request that the Court enter the attached proposed scheduling order.



Dated: July 5, 2019                             Respectfully Submitted,


                                                /s/ Daniel Grant (Bar. No. 19659)
                                                /s/ Denise Hulett

                                                MEXICAN AMERICAN LEGAL DEFENSE
                                                AND EDUCATIONAL FUND

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